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 5
     Counsel for Defendant LILLY
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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             )             No. 4-06-70440 WDB
                                           )
12                     Plaintiff,          )             STIPULATION AND ORDER
                                           )             CONTINUING DATE FOR PRELIMINARY
13   vs.                                   )             HEARING OR ARRAIGNMENT FOR
                                           )             JEANNE LILLY
14   JEANNE LILLY,                         )
                                           )             Current Date: September 7, 2006
15                     Defendant.          )             Requested Date: October 19, 2006
     _____________________________________ )
16

17           Jeanne Lilly is scheduled to appear for preliminary hearing or arraignment on September

18   7, 2006. The parties have reached a resolution of this matter, but the plea agreement must be

19   approved by Washington, D.C.. This approval process is generally slow, and approval will not

20   be obtained by September 7. Therefore, the parties stipulate and agree, and respectfully request,

21   that the date for preliminary hearing or arraignment be continued to October 19, 2006.

22           Ms. Lilly has a right under Federal Rule of Criminal Procedure 5.1 to a preliminary

23   hearing or indictment within 20 days. Ms. Lilly and counsel have discussed that right, and Ms.

24   Lilly desires to waive that right. Good cause for the extension exists because of the delay in

25   receiving approval for the plea agreement. In addition, Ms. Lilly has a right under 18 U.S.C. §

26   3161(b) to be indicted within thirty days. Ms. Lilly and counsel have discussed that right, and


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 1   Ms. Lilly desires to exclude time between September 7, 2006 and October 19, 2006 under 18

 2   U.S.C. § 3161(h)(8)(A) and (B)(iv) because of the delay in approval. In addition, counsel for

 3   Ms. Lilly will be out of town on September 28 and 29, out of the state from October 6 through

 4   the 13th, and has a Ninth Circuit argument on October 17. These scheduling issues will make

 5   counsel unavailable, and therefore provide another basis for excluding time. The parties

 6   stipulate that the ends of justice served by the granting of this continuance outweigh the best

 7   interests of the public and Ms. Lilly in a speedy indictment and trial.

 8   SO STIPULATED.                                                        /S/

 9   Date: 9/05/06
                                                              Rebecca Silbert
10                                                            Assistant Federal Public Defender
                                                              Counsel for Ms. Lilly
11
                                                                           /S/
12   Date: 9/06/06
                                                              George Bevan
13                                                            Assistant United States Attorney

14   I hereby attest that I have on file all holograph signatures for any signatures indicated by a
     “conformed” signature (/S/) within this efiled document.
15
             In light of the stipulation of the parties, and because of the counsel’s unavailability and
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     the delay in the plea agreement, the Court HEREBY ORDERS that the date for preliminary
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     hearing or arraignment, as applied to Jeanne Lilly, be continued to October 19, 2006. The Court
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     further orders that time be excluded from September 7, 2006 to October 19, 2006, pursuant to 18
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     U.S.C. § 3161(h)(8)(A) and (B)(iv), and finds that the ends of justice served by granting the
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     continuance outweigh the best interests of the public and Ms. Lilly in a speedy indictment and
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     trial. The Court further finds that the continuance is necessary for effective preparation of
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     counsel because of the delay in the plea agreement, and for continuity of counsel because of
23                                                                    S DISTRICT
     counsel’s unavailability.                                     ATE           C
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     Dated: September 6, 2006
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                                                                       D.DEBrazil
                                                       UNIT




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25                                                  Honorable  Wayne
                                                    Magistrate Judge, United States District Court
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26                                                  Northern District of California
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